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                                         U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007

                                                     May 20, 2022

Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Cliver Antonio Alcala Cordones, S2 11 Cr. 205 (AKH)

Dear Judge Hellerstein:

        With the consent of defense counsel, the Government respectfully requests that the Court
adjourn the upcoming ex-parte conferences and status conference in the above-referenced matter.
As discussed with Your Honor’s chambers, one of the undersigned attorneys for the Government
tested positive for COVID-19 yesterday, and so will be unable to enter the courthouse under
current protocols. To ensure the safety of all participating, therefore, the Government respectfully
requests an adjournment of approximately two weeks to a date that is convenient for the Court. At
that time, the Government will be prepared to address any questions from the Court, including
regarding defense counsel’s recent filing. The defense consents to this request.

       In addition, the Government respectfully request that the Court exclude time under the
Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), from May 26, 2022, to and including the date set by
the Court, to allow the parties to discuss a possible pretrial disposition and prepare for trial.




                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney


                                      By:                       /s/                        a
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